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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,
                                              Case No. 13-20348
v.
                                              Hon. John Corbett O’Meara
D-1 CHARLES MCRAE,
D-2 CECIL KENT, JR.,
D-3 ALVIN WILLIAMS,

     Defendants.
_______________________________/


                  ORDER GRANTING MOTION TO
                ADJOURN TRIAL DATE AND DENYING
            WITHOUT PREJUDICE MOTION FOR SEVERANCE

      Before the court are Defendant Alvin Williams’s motion for severance and

Defendant Charles McRae’s motion to adjourn the trial date. Defendants are

charged with Medicare fraud. Trial is scheduled for July 28, 2015. Williams seeks

a severance based upon his poor health – he has stage 4 terminal prostate cancer.

The government opposes this request and argues that Williams has not presented

sufficient evidence that he is physically incompetent to stand trial.

      McRae seeks an adjournment of the trial based upon the volume of

discovery recently produced by the government on May 27, 2015. The
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government electronically produced approximately 70,000 pages of material on

that date, and additional material on June 12, 2015. The government states that it

made these materials “available for inspection” on April 14, 2015. Nonetheless,

given the volume of material, it is reasonable that Defendants, exercising due

diligence, would require additional time to prepare for trial. The court will set a

new trial date of September 28, 2015, at 9 a.m.

      The time period between July 28, 2015, and September 28, 2015 shall be

considered excludable delay pursuant to 18 U.S.C. § 3161. Pursuant to 18 U.S.C.

§ 3161(h)(7)(A), and considering the factors listed in 18 U.S.C. § 3161(h)(7)(B),

the court concludes that the ends of justice are served by this delay in order to give

Defendants’ counsel reasonable time to effectively prepare for trial in this

relatively complex healthcare fraud case. The court finds that the ends of justice

served by this delay outweigh the interests of Defendants and the public in a

speedy trial.

      With respect to Williams’ motion for severance, he has not submitted

sufficient medical evidence of his inability to attend trial. The court will deny

Williams’ motion without prejudice. He may file additional information and/or a

supplemental brief regarding his medical condition by August 28, 2015. The

government shall respond by September 11, 2015. At that time, the court will


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determine whether an evidentiary hearing is necessary.

      SO ORDERED.

                                     s/John Corbett O’Meara
                                     United States District Judge


Date: July 8, 2015


      I hereby certify that a copy of the foregoing document was served upon
counsel of record on this date, July 8, 2015, using the ECF system.


                                     s/William Barkholz
                                     Case Manager




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